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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                  07/16/2025
                                                                       :
BLAKE LIVELY,                                                          :
                                                                       :
                                    Plaintiff,                         :
                                                                       :         24-cv-10049 (LJL)
                  -v-                                                  :
                                                                       :             ORDER
WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                  :
JAMEY HEATH, STEVE SAROWITZ, IT ENDS WITH :
US MOVIE LLC, MELISSA NATHAN, THE AGENCY :
GROUP PR LLC, JENNIFER ABEL, JED WALLACE, :
STREET RELATIONS INC.,                                                 :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X
LEWIS J. LIMAN, United States District Judge:

         Pro se movant Brett Douglas McDowell (“Movant”) moves for reconsideration of the

Court’s June 10, 2025, denial of his motion for intervention. Dkt. No. 369. Movant has also

filed three additional notices in support of his motion. Dkt. Nos. 423, 424, 427. For the reasons

that follow, the motion is denied.

        “A motion for reconsideration should be granted only if the movant identifies ‘an

intervening change of controlling law, the availability of new evidence, or the need to correct a

clear error or prevent manifest injustice.’” Spin Master Ltd. v. 158, 2020 WL 5350541, at *1

(S.D.N.Y. Sept. 4, 2020) (quoting Kolel Beth Yechiel Mechil of Tartikov, Inc. v. YLL Irrevocable

Tr., 729 F.3d 99, 104 (2d Cir. 2013)). Reconsideration of a court’s previous order is an

“extraordinary remedy to be employed sparingly in the interests of finality and conservation of

scarce judicial resources.” In re Health Mgmt. Sys., Sec. Litig., 113 F. Supp. 2d 613, 614

(S.D.N.Y. 2000) (citation omitted). It is not a “vehicle for relitigating old issues, presenting the

case under new theories, securing a rehearing on the merits, or otherwise taking a ‘second bite at
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the apple.’” Analytical Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36, 52 (2d Cir. 2012)

(quoting Sequa Corp. v. GBJ Corp., 156 F.3d 136, 144 (2d Cir. 1998)). “The standard for

granting a motion for reconsideration ‘is strict, and reconsideration will generally be denied

unless the moving party can point to controlling decisions or data that the court overlooked—

matters, in other words, that might reasonably be expected to alter the conclusion reached by the

Court.’” Justice v. City of New York, 2015 WL 4523154, at *1 (E.D.N.Y. July 27, 2015)

(quoting Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995)).

       Movant has not identified any change in law or evidence that would alter the Court’s

decision. Movant argues that the Wayfarer Parties’ disclosures filed on the docket on June 17,

2025, see Dkt. No. 352-5, and other newly-discovered evidence, Dkt. No. 369-1, confirm that the

“Dogpool” character is based on Movant’s service dog and that the provenance of the

“Nicepool” character remains at issue, Dkt. No. 369 at 2–6; see id. at 11–13. This information is

not relevant to the Court’s decision. The information suggesting Dogpool is based on Movant’s

service dog makes no difference because the Court’s decision did not turn on whether Dogpool

or Nicepool were in fact based on Movant or his service dog. The Court’s Order denying

intervention already assumed for purposes of the motion that Movant’s likeness was used in the

development of Dogpool and Nicepool. See Dkt. No. 306 at 3. The Court nevertheless denied

the motion because “the Dogpool character was never mentioned in this suit, and the Nicepool

character entered only tangentially.” Id. at 3–4. The Court moreover emphasized that to the

extent Nicepool’s provenance was ever relevant to this suit, it became irrelevant once the Court

dismissed the Wayfarer Parties’ claims based on the Nicepool character. See id.; Dkt. No. 296 at

15.




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       This remains the case despite the June 17, 2025, filing relied upon by Movant. That

filing contained initial disclosures which were made on February 18, 2025, before the Court

dismissed the Wayfarer Parties’ claims, even though they were only filed with the Court on July

17, 2025. Dkt. No. 352-5 at 22. The disclosures represent the Wayfarer Parties’ own

preliminary views that various evidence, including evidence regarding Nicepool, would be

relevant in this case. Those views from February 18, 2025, do not support that Nicepool is

relevant now, after the Court dismissed the claims regarding Nicepool on June 9, 2025. Dkt. No.

296 at 15. The Wayfarer Parties’ disclosures therefore do not provide grounds to reconsider the

denial of Movant’s motion to intervene. 1

       The motion for reconsideration is DENIED. The Clerk of Court is respectfully directed

to close Dkt. No. 369.

       SO ORDERED.

Dated: July 16, 2025                                __________________________________
       New York, New York                                      LEWIS J. LIMAN
                                                           United States District Judge




1
  The supplemental notices filed by Movant assert that subpoenas targeting content creators may
result in disclosure of evidence that references or pertains to Movant. Dkt. Nos 423, 424. This
does not provide grounds to grant Movant’s motion. The mere mention of an individual in
discovery does not satisfy the requirement that a party have “a claim or defense that shares with
the main action a common question of law or fact.” United States v. New York City Hous. Auth.,
326 F.R.D. 411, 418 (S.D.N.Y. 2018) (quoting SEC v. Caledonian Bank Ltd., 317 F.R.D. 358,
368 (S.D.N.Y. 2016)).


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